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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSY~VANIA

DARUS LEON HUNTER                                      CIVIL ACTION

      v.

UNIVERSITY OF PENNSYLVANIA                             NO. 18-348

                                         ORDER

      NOW, this 7th day of May, 2018, this action having been referred to arbitration, it

is ORDERED, pursuant to Local Civil Rule 53.2, § 4(a), as follows:

      1.     The arbitration hearing is scheduled for Wednesday, June 6, 2018, at

9:30 a.m., at 601 Market Street, Philadelphia, PA 19106;

      2.     All documentary evidence, except for impeaching documents, shall be

marked in advance and exchanged among counsel and the parties;

      3.     The following are appointed as arbitrators:

                    Chairman -     Neil V. Goldstein, Esquire

                    Arbitrator -   Francine Holly Maultz, Esquire

                    Arbitrator -   Ricardo A. Byron, Esquire; and,

      4.     The Chairman shall file the arbitration award upon conclusion of the

hearing.




                                                                             'J.
